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                 ORIGINAL                                        FILED IN THE
                                                          UNITED STATES DISTRICT COURT
                                                              DISTRICT OF HAWAII
 Ya-Wen Hsiao
 1141 Hoolai St. Apt 201                                         MAY 1 6 2019
 Honolulu HI 96814                                         at3 o'clock and^min.OM
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 Pro Se                                                                            0


                  IN THE UNITED STATES DISTRICT COURT


                        FOR THE DISTRICT OF HAWAII



  YA-WEN HSIAO,                             CIVIL NO. 18-CV-00502-JAO-KJM

                    Plaintiff,              PLAINTIFF'S OPPOSITION TO
                                            DEFENDANT'S MOTION TO
       vs.                                  DISMISS AND
                                            REQUEST FOR CENSURE AND
  ALEXANDER ACOSTA,in his                   ORDER TO SHOW CAUSE;
  capacity as the United States Secretary
  of Labor,                                 MEMORANDUM IN SUPPORT;

                  Defendant.                CERTIFICATE OF SERVICE



                                            Hearing Date: June 7, 2019
                                            Dearing Time: 11:00 AM
                                            Place: Aha Kanawai
                                            Before: Honorable Judge Jill A. Otake
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    PLAINTIFF'S OPPOSITION ON DEFENDANTS MOTION TO DISMISS



   On March 4, 2019, Defendants filed a Motion to Dismiss pursuant to Rule 12(b)(1)
   ofthe Federal Rules of Civil Procedure. The Plaintiff hereby presents her objections
   to the motion and further moves the court to censure and order the defendants to
   show cause for several issues that are presented in the memorandum ofsupport. This
   is a re-submitted opposition but the Exhibit's that were submitted at BCF 14 are
   still relevant, the Plaintiff will refer to those exhibits in the memorandum of
   support that follows rather than re-file them again.


   The Plaintiff finds the Defendant's contentions as odd because they actually made
   the argument for the Plaintiffs constitutional and prudential standing. The
   Defendant's description has satisfied the three elements of constitutional standing
   the Plaintiff needs to satisfy. The Defendant has been deprived ofthe ability to work
   past her current work permit and denied the opportunity to take the following
   regulatory steps towards permanent residence, these injuries stem directly from,
   among other things, the denial of the Labor Certification by the Defendant. These
   injuries may be redressed by this Court by ordering the Labor Certification be issued
   and grant other relief prayed for in the complaint.
   Plaintiff agrees with the Defendant that she is the beneficiary of the Labor
   Certification application. The Defendant used the words "beneficiary" and "on
   behalf not less than ten times in their Motion to Dismiss attacking the Plaintiffs
   standing. This statement by the defendant, clearly is contradictory to their contention
   that the Plaintiff does not "benefit" from this application by the Employer.
   The Defendant applies the concept of prudential/statutory standing erroneously as
   this action, by the Defendant's own admission, was brought under the APA.Even if
   the Plaintiff were to apply Defendant's analysis, the Plaintiff would have standing
   as she is regulated by the INA. Further, her interests are protected by the INA as she
   is part ofthe US Workforce.
   The Defendant cites multiple cases explaining standing in dictum, but none in
   relation to the Plaintiffs standing in court with regards to the Program Electronic
   Review Management(PERM)regulations. In addition, cases cited are taken out of
   context and almost exclusively out of this Court's circuit.

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   The Plaintiff can accept that the Defendant, may misconstrue the requirements of
   Constitutional Standing and Prudential/Statutory Standing. What the plaintiffcannot
   accept is a frivolous claim when the Defendant has already accepted that the Plaintiff
   has independent standing to seek review in Federal District court.
   As such,the Plaintiff also moves the court to order the Defendant to show cause why
   the Defendant would waive the "standing" argument, yet, bring it to this current
   litigation.
   Finally, the Plaintiff also contends that the FOIA violations are not moot. The
   Defendant's allegation that the FOIA request was completed is not accurate. Again,
   the Plaintiff asks the Court to order the Defendant to explain these untruths in their
   statements.


   For these reasons, based on the pleadings, the record to date, the memorandum in
   support and exhibits presented, the Plaintiff moves the court to Deny the Motion to
   dismiss, censure the Defendant and to order them to show cause in the issues
   presented.


   Dated: May 16, 2019




                                                                Respectfully Submitted




                                                                          Ya-Wen Hsiao

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                            CERTIFICATE OE SERVICE




   The undersigned hereby certifies that on the date stated below, a true and correct
   copy of the foregoing document was duly served upon the following by USPS
   Priority Mail.


   Harry Yee
   PJKK Federal Building
   300 Ala Moana Blvd. Room 6-100
   Honolulu HI 96850


   Samuel P Go
   USDOJ/CIVIL/OIL/DCS
   P.O. Box 868
   Ben Franklin Station
   Washington, D.C. 20044




   Ya-Wen Hsiao
   Dated: May 16, 2019 at Honolulu, HI




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